JS 44 (Rev. 10/20)                             CIVIL 1-1
                          Case 1:22-cv-07572 Document COVER
                                                         Filed SHEET
                                                               12/13/22 Page 1 of 2 PageID #: 15
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
           Danielle Buscaino                                                                               Dircksen & Talleyrand, Inc. d/b/a River Cafe and Ariel
                                                                                                           Echeverria
    (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant Kings County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

           Joseph & Kirschenbaum LLP, 32 Broadway, Suite 601,
           New York, NY 10004
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF          DEF                                             PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1            1          Incorporated or Principal Place         4     4
                                                                                                                                                             of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2             2      Incorporated and Principal Place              5        5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                  Citizen or Subject of a             3             3      Foreign Nation                                6        6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                          BANKRUPTCY                                OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158                         375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                                376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                                    3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                                                                 400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                               410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                               430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                                   450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated                     460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                      New Drug Application                     470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                                    Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets                     480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                                  (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                            485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                                   Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                              490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)                          850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                            Exchange
                                           Medical Malpractice                                           Leave Act                        864 SSID Title XVI                            890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                              891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                            893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                             895 Freedom of Information
    230 Rent Lease & Ejectment       ✖ 442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff                         Act
    240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                            896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party                           899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                                  Act/Review or Appeal of
                                           Employment                  Other:                        462 Naturalization Application                                                         Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                              950 Constitutionality of
                                           Other                       550 Civil Rights                  Actions                                                                            State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                             8 Multidistrict
      Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                              Litigation -
                                                                                                                              (specify)                 Transfer                                  Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         42 USC 2000e et seq.
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Gender discrimination and retaliation
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                        CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:                         ✖   Yes       No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
12/13/22                                                                D. Maimon Kirschenbaum                                             Digitally signed by D. Maimon Kirschenbaum
                                                                                                                                           Date: 2022.12.13 17:14:36 -05'00'


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                                       MAG. JUDGE
                                 CERTIFICATION
                     Case 1:22-cv-07572 DocumentOF
                                                1-1ARBITRATION
                                                    Filed 12/13/22 ELIGIBILITY
                                                                    Page 2 of 2 PageID #: 16
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

   D. Maimon Kirschenbaum
I, __________________________________________,                       Plaintiff
                                                    counsel for____________________________, do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

          ✔             monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

                                                           NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes         ✔    No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes         ✔     No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?          ✔    Yes               No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
                              Yes               No
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                          ✔                  Yes                                                          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                  ✔         No




            I certify the accuracy of all information provided above.
                           /s/ D. Maimon Kirschenbaum
            Signature: ____________________________________________________

           Print                                   Save As...                                                             Reset                                        Last Modified: 11/27/2017
